E. BRYAN WILSON
Acting United States Attorney

JENNIFER IVERS
JONAS M. WALKER
Assistant U.S. Attorneys
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-1500
Email: jennifer.ivers@usdoj.gov
       jonas.walker@usdoj.gov

Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  ) No. 3:21-cr-00062-JMK-DMS
                                             )
                          Plaintiff,         ) COUNT 1:
                                             ) CYBERSTALKING
          vs.                                ) Vio. of 18 U.S.C. §§ 2261A(2)(A),
                                             ) (B), and 2261(b)(6)
  ROLANDO HERNANDEZ-                         )
  ZAMORA,                                    )
                                             )
                          Defendant.         )
                                             )

                                       INDICTMENT

       The Grand Jury charges that:

                                         COUNT 1

       Beginning in or about May 2016, the exact date being unknown, and continuing

through May 29, 2020, within the District of Alaska and elsewhere, with the intent to kill,



      Case 3:21-cr-00062-JMK-MMS Document 2 Filed 05/19/21 Page 1 of 2
injure, harass, intimidate, and place under surveillance with intent to kill, injure, harass,

and intimidate another person, the defendant, ROLANDO HERNANDEZ-ZAMORA,

used any interactive computer service and electronic communication service and electronic

communication system of interstate commerce, and any other facility of interstate and

foreign commerce, to knowingly engage in a course of conduct that placed that person in

reasonable fear of the death of and serious bodily injury to that person, her child, and

parents; and knowingly caused, attempted to cause, and would be reasonably expected to

cause substantial emotional distress to that person, her child, and parents.

       All of which is in violation of 18 U.S.C. §§ 2261A(2)(A), (B), and 2261(b)(6).

       A TRUE BILL.


                                           s/ Grand Jury Foreperson
                                           GRAND JURY FOREPERSON


s/ Jonas M. Walker
JONAS M. WALKER
Assistant U.S. Attorney
United States of America


s/ E. Bryan Wilson
E. BRYAN WILSON
Acting United States Attorney
United States of America


DATE:         May 18, 2021



                                         Page 2 of 2




      Case 3:21-cr-00062-JMK-MMS Document 2 Filed 05/19/21 Page 2 of 2
